                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                                          )
                 Plaintiff,                    No. 24-CR-70-CJW-MAR
                                          )
                                          )
         vs.
                                          )
                                          )
SHANE ROBERT MCDOWELL,
                                          )
                                          )
                 Defendant.
                                          )


        GOVERNMENT’S SUPPLEMENTAL BRIEF IN SUPPORT OF
       ITS RESISTANCE TO DEFENDANT’S MOTION TO SUPPRESS

       The search warrant in this case authorizing the search of “any vehicle” that

defendant was “found to currently or immediately before had been driving or riding

in” is valid because it was supported by probable cause and particularly described,

and defendant’s statements during his post-Miranda interview should not be

suppressed because there was not a Fourth Amendment violation. The Court

should deny defendant’s motion to suppress.

I.     ANALYSIS

        A.     The Search Warrant Complied with the Fourth Amendment

       While the Eighth Circuit has not yet analyzed whether a search warrant

authorizing the search of “any vehicle” that a defendant was “found to currently

or immediately before had been driving or riding in” is valid, it has upheld a search

warrant including the broader language “any vehicles.”




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        In United States v. Carrillo-Diaz, 361 F. App’x 707 (8th Cir. 2010)

(unpublished), law enforcement “obtained a search warrant for the property located

at 21594 Gann Road in Gentry, Arkansas,” and “[t]he scope of the warrant extended

to any vehicles ‘parked on the property.’” Id., at 708. “The warrant was supported

by a 36-page affidavit which outlined an extensive drug-trafficking enterprise

allegedly operated by [the defendant’s] parents, Juan and Lucia Carrillo-Diaz.”

The affidavit contained assertations that: (1) “Juan Carrillo-Diaz was known to

receive shipments of drugs hidden in vehicles;” (2) “Juan Carrillo-Diaz would often

switch cars with other drug traffickers, leaving money in his vehicle while

accomplices left drugs in other vehicles;” and (3) “Law enforcement officials

observed Juan Carrillo-Diaz driving several different cars, but none among them

was registered in his name.” Id. During the execution of the search warrant,

officers searched the defendant’s vehicle “and discovered what was ultimately

determined to be a counterfeit social security card bearing [the defendant’s] name.”

Id.

        The defendant argued that “the warrant should have been limited to searches

of vehicles owned by her parents.” 361 F. App’x at 709. The Eighth Circuit,

however, found that argument to be “without merit.” Id. The Court explained that

(1) “much—if not all—of the drug trafficking activity involving motor vehicles did

not involve vehicles owned by Juan or Lucia Carrillo-Diaz;” and (2) “the warrant

was limited in scope by limiting searches only to vehicles parked on the property.”




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Id. The Court affirmed the district court’s denial of the defendant’s motion to

suppress. Id., at 708-09.

      Other federal courts have also upheld search warrants authorizing the

search of “any vehicles.” In United States v. Miles, 86 F.4th 734 (7th Cir. 2023),

law enforcement obtained a search warrant for a residence located at 3243 Brouse

Avenue “and any vehicles on its premises for evidence of drug trafficking.” Id.,

at 738. The search warrant affidavit described two controlled purchases of

methamphetamine from Christopher Deeren. Id. During the controlled purchases,

“the CS met Deeren at a gas station, got into a car with him, and headed to

3243 Brouse Avenue. The CS handed Deeren cash, and Deeren entered the house

alone. A few minutes later, Deeren returned to the car and handed the CS meth.”

Id. “Deeren used a different car for each controlled buy.” During the execution

of the search warrant, officers searched vehicle of the defendant, who resided

at 3243 Brouse Avenue and was Deeren’s source of supply, and they seized

methamphetamine from one of the vehicles. Id.

      The defendant moved to suppress the evidence found in his vehicle, arguing,

in part, “that the search warrant was overly broad because it extended to ‘any

vehicles on [the] premises.’” 86 F.4th at 742. The Seventh Circuit held that “the

warrant did not violate the Fourth Amendment.” Id. at 743. It concluded that the

warrant was as specific as the officers’ knowledge allowed under the circumstances,

and it did not allow officers to search for items that were unlikely to yield evidence

of the crime. Id. (omitting quotations and citations). It stated that “officers could




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not have described the vehicles with more particularity because they were unable

to identify the residence’s owner and observed Deeren using different vehicles

to facilitate the two controlled buys. Id. The Seventh Circuit also concluded that

“it is reasonable to infer that there was a fair probability that evidence of drug

dealing would be found in any car on the Brouse Avenue residence” because “Deeren

handed the CS meth immediately after exiting the house in both controlled buys.”

Id. (citing United States v. Evans, 92 F.3d 540, 543-44 (7th Cir. 1996) (permitting

the police to search any car parked in a garage “unless it is apparent that the [car]

does not belong to anyone connected with the illegal activity—a condition that will

rarely be satisfied” even when the officers know the identity of home’s owner)).

      Several state courts have also upheld the validity of search warrants that

contained almost identical language to the search warrant at issue here. In People

v. Williams, 34 N.Y.S.3d 528 (N.Y. 3d Dep’t 2016), law enforcement obtained

“a search warrant authorizing the search—including a strip search—of defendant

and any vehicle that he was in or operating.” Id., at 529. Upon the execution of the

search warrant, “defendant was found in possession of heroin and crack cocaine.”

Id. The defendant moved to suppress evidence seized as a result of the warrant,

arguing, in part, that the “search warrant application failed to establish probable

cause for the search of defendant or a vehicle” or “describe with particularly the

vehicle to be searched[.]” Id., at 529-30. The Supreme Court, Appellate Division,

Third Department of New York rejected the defendant’s argument, finding that the

warrant was supported by probable cause and sufficiently particular. Id., at 530-31.




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The Williams court found probable cause existed at the time the warrant was

issued because that the search warrant application included (1) “an affidavit from

a confidential informant who identified defendant and set forth detailed information

about his recent purchases of narcotics from defendant, including one purchase that

was a controlled buy;” (2) “the police investigator noted the informant’s reliability

demonstrated by his signed affidavit as well as his prior assistance in numerous

other arrests and drug seizures;” and (3) a supporting affidavit by the police

investigator “setting forth his knowledge and experience regarding narcotics

trafficking and basis for the search warrant request.” Id., at 530. The Williams

court also found “that the description of the vehicle was sufficiently particular and

readily ascertainable, given that the only vehicle that could be searched was the

one that defendant was in or operating, if any, at the time the search warrant was

executed.” Id. at 530-31.

      In State v. Iwatate, 120 P.3d 260 (Haw. Ct. App. 2005), law enforcement

obtained a search warrant that authorized them to search “‘[t]he person of Richard

Iwatate . . . and any personal belongings such as fannypacks or any type of bags.

Any personal, rental, or borrowed vehicle that Richard Iwatate is operating or

occupying, including any compartments of that vehicle.’” Id. at 262. Officers

executed the search warrant as the defendant was driving his father’s pickup truck.

Id. The defendant moved to suppress the evidence arguing, in part, that “[t]he law

does not give the issuing magistrate the power to search any vehicle that the target

of the search warrant is in at any time, at any place with whoever he might be with,




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as the search warrant does in this case.” Id., at 267. The Intermediate Court of

Appeals of Hawai’i rejected the defendant’s argument. Id., at 267-68. The Iwatate

court relied upon a California Court of Appeals case:

      In People v. Sanchez, 116 Cal.App.3d 720, 172 Cal.Rptr.290 (1981),
      the California Court of Appeals affirmed the trial court's denial of
      defendant's motion to quash a search warrant that in part authorized
      a search of “any vehicle under [a heroin dealer's] control or occupied
      by him at the time the warrant” was served. Id. at 725, 172 Cal.Rptr.
      290 (brackets in original omitted). The Court of Appeals concluded
      there was “nothing improper about the authorization to search any
      vehicle under [the dealer's] control or occupied by him at the time the
      warrant was served.” Id. at 728, 172 Cal.Rptr. 290. This conclusion
      was based on the affidavit submitted by a law enforcement officer that
      “clearly provided probable cause for the issuing magistrate to believe
      that [the dealer] would be supplying [the intermediary] with heroin
      later that evening and that he would be transporting the contraband
      either in one of his own vehicles, or in one he had borrowed.” Id. at
      727–28, 172 Cal.Rptr. 290.

Id., at 262-63. The Iwatate court found that the search warrant at issue was not

overbroad and was sufficiently particularized because the warrant was “based

on probable cause that ‘Iwatate would be in possession of ice, and would be

transporting it in any number of different vehicles in which he was either the

operator or an occupant.’” Id., at 268. The Iwatate court held that, “[g]iven the

surrounding facts and circumstances, a more particularized description of the

vehicle Iwatate would be using to transport ice would have been difficult.” Id.

      In this case, as argued in the government’s original brief, the search warrant

established probable cause to search “any vehicle” that defendant was “found

to currently or immediately before had been driving or riding in.” The affidavit

established that defendant was a long-time user and trafficker of methamphetamine,




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that he utilized multiple vehicles in conducting drug-related activities, that CS1 had

previously driven defendant to Cedar Rapids to obtain methamphetamine, and that

drug traffickers keep controlled substances they intend to sell and proceeds of their

sales on their persons or in their vehicles. The search warrant was also sufficiently

particular because, like Williams, the only vehicle that could be searched was the

one that defendant was in, or had just been in, at the time the search warrant was

executed.

      Given the totality of the circumstances, the search warrant obtained and

executed in this case satisfied the requirements of the Fourth Amendment as it

particularly described the places to be searched and the things to be seized, and it

was supported by probable cause. Defendant’s motion to suppress should be denied.

        B.   Since There Was No Fourth Amendment Violation, There Is
             No “Poisonous Tree”

      Defendant moves to suppress his post-Miranda statements because they are

“fruit of the poisonous tree.” (Doc. 24-1, at 11-12.) However, because there is no

Fourth Amendment violation, as argued in the government’s original brief and the

instant brief, “[t]here is no poisonous tree” and the Court should not suppress his

statements. United States v. Rutledge, 61 F.4th 597, 603 (8th Cir. 2023).




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II.       CONCLUSION

          For the reasons set forth above and in the government’s original brief, the

Court should deny defendant’s motion to suppress.

                                               Respectfully submitted,

      CERTIFICATE OF SERVICE                   TIMOTHY T. DUAX
I hereby certify that on November 8, 2024,
                                               United States Attorney
I electronically filed the foregoing with
the Clerk of Court using the ECF system,       By: /s/ Jared Manternach
which will send notification of such filing
to the parties or attorneys of record.
                                               JARED MANTERNACH
UNITED STATES ATTORNEY
                                               Special Assistant United States Attorney
BY: /s/ RAL
                                               By: /s/ Dillan Edwards

                                               DILLAN EDWARDS
                                               Assistant United States Attorney
                                               111 7th Street SE, Box 1
                                               Cedar Rapids, Iowa 52401
                                               (319) 363-6333, (319) 363-1990 - Fax
                                               Jared.Manternach@usdoj.gov
                                               Dillan.Edwards@usdoj.gov




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